        Case 1:16-cv-10112-NMG Document 327 Filed 04/26/19 Page 1 of 4




                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

                                                     )
AMPHASTAR PHARMACEUTICALS, INC.                      )
and INTERNATIONAL MEDICATION                         )
SYSTEMS, LTD.,                                       )
                                                     )
               Plaintiffs,                           )
                                                     )    Civil Action No.: 1:16-cv-10112-NMG
       v.                                            )
                                                     )
MOMENTA PHARMACEUTICALS, INC.                        )
and SANDOZ INC.,                                     )
                                                     )
               Defendants.                           )
                                                     )

    PLAINTIFFS’ MOTION TO EXCLUDE CERTAIN OPINIONS PROFFERED BY
       LAUREN J. STIROH, ANNE LAYNE-FARRAR, AND MANSOOR KHAN

       Pursuant to Rule 702 of the Federal Rules of Evidence, Plaintiffs Amphastar

Pharmaceuticals, Inc. and International Medication Systems, Ltd. (collectively, “Amphastar”)

hereby move to exclude certain opinions and statements disclosed by Lauren J. Stiroh, Anne

Layne-Farrar, and Mansoor Khan on behalf of Momenta Pharmaceuticals, Inc. and Sandoz Inc.

(collectively, “Defendants,” individually, “Momenta” and “Sandoz”).

       In particular, in order to narrow the issues in this case for trial, Amphastar seeks to

exclude 1) any opinions or statements by Drs. Stiroh, Layne-Farrar, and Khan contradicting the

Court’s judgment in Momenta Pharm., Inc. v. Amphastar Pharm., Inc., Civ. Action No.: 1:11-cv-

11681-NMG (D. Mass.), and 2) any opinions or statements from Drs. Stiroh and Layne-Farrar

concerning the rules and practices of the United States Pharmacopeia (“USP”) on the grounds

that they are unqualified to opine on the rules and practices of an organization with which they

have no experience.
        Case 1:16-cv-10112-NMG Document 327 Filed 04/26/19 Page 2 of 4




       In support of this Motion, Amphastar relies on Plaintiffs’ Memorandum of Law in

Support of Its Motion to Exclude Certain Opinions Proffered by Lauren J. Stiroh, Anne Layne-

Farrar, and Mansoor Khan and the Declaration of Chul Pak, filed herewith.

                              REQUEST FOR ORAL ARGUMENT

       Pursuant to Local Rule 7.1(d), Plaintiffs respectfully request that this Court schedule oral

argument for this motion.

                                                     Respectfully submitted,

                                                     AMPHASTAR PHARMACEUTICALS,
                                                     INC. and INTERNATIONAL
                                                     MEDICATION SYSTEMS, LTD.

                                                     By their attorneys,

                                                     /s/ Chul Pak                       0
                                                     Chul Pak (pro hac vice)
                                                     cpak@wsgr.com
                                                     Wendy Huang Waszmer (pro hac vice)
                                                     wwaszmer@wsgr.com
                                                     Jeffrey C. Bank (pro hac vice)
                                                     jbank@wsgr.com
                                                     Wilson Sonsini Goodrich & Rosati, P.C.
                                                     1301 Avenue of the Americas, 40th Floor
                                                     New York, New York 10019
                                                     Telephone: (212) 497-7726
                                                     Facsimile: (212) 999-5899

                                                     Seth C. Silber (pro hac vice)
                                                     ssilber@wsgr.com
                                                     Wilson Sonsini Goodrich & Rosati, P.C.
                                                     1700 K Street, N.W., Fifth Floor
                                                     Washington, D.C. 20006
                                                     Telephone: (202) 973-8824
                                                     Facsimile: (202) 973-8899




                                                2
        Case 1:16-cv-10112-NMG Document 327 Filed 04/26/19 Page 3 of 4




                                          Alan D. Rose
                                          adr@rose-law.net
                                          Meredith Wilson Doty
                                          mwd@rose-law.net
                                          ROSE, CHINITZ & ROSE
                                          One Beacon Street, 23rd Floor
                                          Boston, Massachusetts 02108
                                          Telephone: (617) 536-0040
                                          Facsimile: (617) 536-4400

Dated: April 26, 2019




                                      3
        Case 1:16-cv-10112-NMG Document 327 Filed 04/26/19 Page 4 of 4




                  CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1

        I hereby certify that counsel for Plaintiffs Amphastar Pharmaceuticals, Inc. and
International Medication Systems, Ltd. (“Plaintiffs”) has conferred with counsel for Defendants
Momenta Pharmaceuticals, Inc. and Sandoz Inc. (“Defendants”) in an effort to narrow or resolve
the issues raised in this motion. Defendants oppose this motion.

                                              /s/ Chul Pak                  0
                                              Chul Pak
                                                     0

                                                     o

                                    CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent electronically
to the registered participants as identified on the Notice of Electronic Filing (NEF) and paper
copies will be sent via mail to those indicated as non-registered participants (if any) on April 26,
2019.


                                              /s/ Chul Pak                  0
                                              Chul Pak

                                                     0




                                                 4
